






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00391-CV






Cherise Jackson, Appellant


v.


Stephanie Wright, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-FM-09-002672, HONORABLE DARLENE BYRNE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


PER CURIAM

		Cherise Jackson filed a notice of appeal from an order striking her plea in
intervention.  Stephanie Wright filed a motion to dismiss the appeal, contending that this Court
lacked jurisdiction because Jackson had filed an impermissible interlocutory appeal.  In the interim,
the trial court has signed a final decree on conservatorship and Jackson has filed a second notice of
appeal.  The prematurely filed notice of appeal is now effective to vest jurisdiction in this Court.  See
Tex. R. App. P. 27.1(a).  We dismiss as moot Wright's motion to dismiss this appeal.

		Wright's counsel has filed a motion to withdraw as counsel that alternatively requests
that the Travis County Office of Parental Representation be appointed as appellate counsel for
Wright.  An attorney at the Office was appointed as trial counsel for Wright and filed the motion to
dismiss in this Court on her behalf, but now asserts that the Office and the attorney no longer have
authority to represent Wright after the filing of the final decree of conservatorship.

		We grant Wright's counsel's motion to withdraw.  We abate this appeal and
remand&nbsp;this cause to the trial court for consideration of whether to appoint counsel for Wright.  The
trial court may appoint an attorney with the Travis County Office of Parental Representation or
another attorney, or may decline to appoint counsel for Wright.  Alternatively, Wright may obtain
counsel on her own or may choose to proceed without counsel for the appeal. 

		Absent further order of this Court, this appeal will be automatically reinstated on
February 7, 2011.  Wright's appellee's brief is due March 21, 2011.



Before Justices Puryear, Pemberton and Rose

Abated

Filed:   January 14, 2010


